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 4
                                  UNITED STATES DISTRICT COURT
 5
                                         DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                   )
                                                 )       Case No. 2:12-cr-00004-APG-GWF
 8                         Plaintiff,            )
                                                 )
 9   v.                                          )
                                                 )
10   DEFENDANT 1, et al.,                        )
                                                 )
11                         Defendants.           )
                                                 )
12   UNITED STATES OF AMERICA,                   )
                                                 )       Case No. 2:12-cr-00083-APG-GWF
13                         Plaintiff,            )
                                                 )
14   v.                                          )
                                                 )
15   OMAR BUTT, et al.,                          )
                                                 )
16                         Defendants.           )
                                                 )
17   UNITED STATES OF AMERICA,                   )
                                                 )       Case No. 2:12-cr-00084-APG-GWF
18                         Plaintiff,            )
                                                 )
19   v.                                          )
                                                 )
20   THOMAS LAMB, et al.,                        )       ORDER
                                                 )
21                         Defendants.           )
                                                 )
22
23          IT IS HEREBY ORDERED that the following Defendants detained in the Southern
24   Nevada Detention Center may have access to computers not connected to the internet which
25   allow for defense counsel to provide an external hard drive(s) allowing Defendants to review
26   discovery:
27          David Ray Camez (2:12-cr-00004)
28          Makyl Haggerty (2:12-cr-00004)
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 1          Cameron Harrison (2:12-cr-00004)
 2          Alexander Kostikov (2:12-cr-00004)
 3          Qasir Mukhtar (2:12-cr-00004)
 4          Jason Maclaskey (2:12-cr-00083)
 5          Jonathan Vergnetti (2:12-cr-00084)
 6          IT IS FURTHER ORDERED that the listed inmates are not to take notes during their
 7   viewing of the discovery or print any of the material.
 8          DATED this 4th day of June, 2013.
 9
10                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
11                                                 United States Magistrate Judge
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